Case 3:15-cv-01143-BJD-JBT Document 362-1 Filed 12/11/19 Page 1 of 3 PageID 31593




                              EXHIBIT 1
Case 3:15-cv-01143-BJD-JBT Document 362-1 Filed 12/11/19 Page 2 of 3 PageID 31594

                                                                          [Page 1]
                          IN THE UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA

                                   OAKLAND DIVISION

              MATTHEW EDWARDS, et al.,                )

              individually and on behalf of )

              all others similarly situated,)

                                                      )

                          Plaintiffs,                 )

                                                      )

                    vs.                               ) No. 11 CV 04766

                                                      )

              NATIONAL MILK PRODUCERS                 )

              FEDERATION, aka COOPERATIVES            )

              WORKING TOGETHER; DAIRY                 )

              FARMERS OF AMERICA, INC.;               )

              LAND O'LAKES, INC.; DAIRYLEA            )

              COOPERATIVE, INC. and                   )

              AGRI-MARK, INC.,                        )

                                                      )

                          Defendants.                 )

                          The deposition of EDWARD GALLAGHER, called by the

              Plaintiff for examination pursuant to notice and

              pursuant to the Rules of Civil Procedure for the United

              States District Courts pertaining to the taking of

              depositions, taken before Barbara Perkovich, a notary

              public within and for the County of Cook and State of

              Illinois, at Suite 1100, 224 South Michigan Avenue,

              Chicago, Illinois on the 6th day of May 2015.




     877-479-2484                       U.S. LEGAL SUPPORT         www.uslegalsupport.com
Case 3:15-cv-01143-BJD-JBT Document 362-1 Filed 12/11/19 Page 3 of 3 PageID 31595
        1   asserting that you have knowledge that it was a legal          1   price, correct?
        2   format in what they did?                                       2     A. The all milk price is different than the
        3     A. I am not an anti-trust attorney, again, I                 3   regulated price, but it is probably -- in excess of
        4   said that earlier. It's my opinion and I'm not                 4   90 percent of its value is determined by the
        5   offering that opinion at trial or I have not made              5   regulated price. So it equates -- it's very --
        6   that an opinion in my report.                                  6   highly correlated.
        7     Q. So you don't intend to offer that at trial,               7     Q. The all milk price also includes the over order
        8   correct?                                                       8   premium, correct?
        9     A. Correct.                                                  9     A. Yes. And I talk about price -- yeah, I
       10     Q. You, in the last page, or I should say Page 7,           10   believe the analysis that Cornell did, I believe,
       11   you have some summary comments. And at the end you say,       11   referred to the all milk price and -- so the -- I
       12   Upon reflection, I come to the conclusion that the            12   believe it was just accepted at the time that the
       13   existing CWT Program is likely a better long run avenue       13   impact of the CWT Program would have an impact on
       14   for increasing milk prices and attempting to reduce           14   changing the regulated price.
       15   their volatility, than a similar program operated by the      15         And so I may -- I didn't define it in this, I
       16   Federal government and requiring full participation by        16   didn't define it. So you're right, I don't see the
       17   all nonorganic dairy farmers. Do you see that?                17   words "regulated price" in the document, as you have
       18     A. I do.                                                    18   identified.
       19     Q. And so you will agree, will you not,                     19     Q. And I think, as you correctly identified,
       20   Mr. Gallagher, at the time you wrote these words, you         20   Cornell's model estimated the impact of a CWT-like
       21   believed the CWT Program was effectively increasing milk      21   program on the all milk price, correct?
       22   prices, correct?                                              22     A. Correct. It also has some forecasts, as I
       23     A. I'm not sure I would agree with your term                23   look through, about the impacts on Class 3 and Class
       24   effectively. And I don't know what you would mean             24   4 prices. And I'm fairly -- no, I don't know how
       25   by that. Let me give you an example, if I could.              25   they did it, so I can't recall exactly how they did

                                                       [Page 66]                                                       [Page 68]

        1      Q. No, let me have you answer my question. And I            1   it. But they did have, I think, some estimates on
        2    appreciate you saying you don't know what I mean by it,       2   what they thought would happen to the Class 3 and
        3    so I'll rephrase. At the time you wrote that paragraph,       3   Class 4 price, which are two of the regulated prices
        4    you believe, Mr. Gallagher, that the CWT Program was          4   that make up the blend price.
        5    increasing milk prices, correct?                              5    Q. I understand, but you didn't analyze the
        6      A. I believed that the CWT Program was                      6   variables in their regression, did you?
        7    increasing -- helping to reduce surplus milk and              7     A. I'm not sure. Ask me the question again,
        8    increasing the regulated milk price.                          8   please.
        9      Q. And if I understand your comment about the               9    Q. Did you analyze the variables in the regression
       10    regulated price, can you tell me where in this document      10   run by the Cornell study?
       11    you refer to the regulated milk price?                       11     A. I don't believe so, although I may have
       12      A. You'll have to give me a few minutes to read            12   opined a little bit on some of the assumptions.
       13    this. Is that okay?                                          13    Q. Did you ever, in doing your work, analyze the
       14      Q. Sure.                                                   14   total cumulative effects in terms of how much the Herd
       15      A. Thank you.                                              15   Retirement Program elevated the all milk price?
       16      MR. MILLER: Jeff, I'm going to hand him my iPad            16     MR. MILLER: Objection to form.
       17    to make it easier.                                           17     THE WITNESS: I don't recall doing that, but --
       18      MR. FRIEDMAN: I can represent to you that I                18   I don't recall doing that, but I may have, I don't
       19    don't think you are going to find it, but you are            19   know.
       20    entitled to look.                                            20   BY MR. FRIEDMAN:
       21      THE WITNESS: As I flip through this and scan it            21    Q. So you don't recall seeing any numbers about how
       22    quickly, I refer to -- I have a reference to the all         22   much the all milk price was elevated, due to the Herd
       23    milk price, which is part --                                 23   Retirement Program?
       24    BY MR. FRIEDMAN:                                             24     MR. MILLER: Objection to form.
       25      Q. You agree the all milk price is not the regulated       25     THE WITNESS: I don't recall if I did the

                                                       [Page 67]                                                       [Page 69]

                                                                                     [18] (Pages 66 to 69)
     877-479-2484                                               U.S. LEGAL SUPPORT                          www.uslegalsupport.com
